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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF UTAH


THE SCO GROUP, INC.,                                     [PROPOSED]
                                                 ORDER GRANTING IBM’S MOTION
        Plaintiff/Counterclaim-Defendant,        FOR SUMMARY JUDGMENT ON ITS
                                                     CLAIM FOR COPYRIGHT
v.                                                INFRINGEMENT (IBM’S EIGHTH
                                                        COUNTERCLAIM)
INTERNATIONAL BUSINESS MACHINES
CORPORATION,                                        Civil No. 2:03CV-0294 DAK

                                                     Honorable Dale A. Kimball
        Defendant/Counterclaim-Plaintiff.

                                                  Magistrate Judge Brooke C. Wells
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       Based on the submissions of the parties, such argument as was presented at hearing, and

good cause appearing therefore,

       IT IS HEREBY ORDERED that IBM’s Motion for Summary Judgment on its Claim for

Copyright Infringement (IBM’s Eighth Counterclaim) is granted in its entirety with prejudice.

       DATED this ____ day of ______________, 2006.

                                                BY THE COURT



                                                ____________________________
                                                Dale A. Kimball
                                                United States District Court Judge




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                                    CERTIFICATE OF SERVICE


           I hereby certify that on the 25th day of September, 2006, a true and correct copy of the

foregoing was electronically filed with the Clerk of the Court and delivered by CM/ECF system

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                                                 /s/ Amy F. Sorenson




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